                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

TERRY LYNN KING,                                     )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:18-cv-01234
                                                     )
LISA HELTON, et al.,                                 )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:19-cv-01139
                                                     )
LISA HELTON, et al.,                                 )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


     NOTICE OF CORRECTIONS OF INACCURACIES AND/OR MISSTATEMENTS


       Counsel for Defendants submit this filing to correct inaccuracies and/or misstatements in

Defendants’ filings in King and Middlebrooks.

       Tennessee death row inmate Oscar Smith was scheduled to be executed on April 21, 2022.

On the date of his scheduled execution, Counsel for Defendants were notified by Defendants that

certain lethal injection chemicals may not have been tested in accordance with the lethal injection

protocol. (Exhibit 1 at 19-20.)   Thereafter, Governor Lee issued Oscar Smith a reprieve from

execution of the sentence of death. (Id. at 18-19). On May 2, 2022, Governor Lee issued a press

release stating that the lethal injection chemicals to be used in the April 21, 2022 execution of

death row inmate Oscar Smith were tested for “potency and sterility but not endotoxins.” (Press


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Release, Office of the Governor, Gov. Lee Calls for Independent Review Following Smith

Reprieve (tn.gov) (May 2, 2022) (attached as Exhibit 2).) As a result, Governor Lee directed

former U.S. Attorney Ed Stanton to conduct an independent investigation of the following:

        Circumstances that led to testing the lethal injection chemicals for only potency and
         sterility but not endotoxins preparing for the April 21 execution

        Clarity of the lethal injection process manual that was last updated in 2018, and adherence
         to testing policies since the update

        [TDOC] staffing considerations

(Id.)

         As a result of the circumstances leading to Governor Lee’s reprieve of Mr. Smith’s

execution, undersigned counsel filed a Notice of Inaccuracies or Misstatements to Be Corrected

upon information and belief that filings made by counsel on behalf of Defendants contained

inaccuracies or misstatements on May 6, 2022. (King, D.E. 217; Middlebrooks, D.E. 58.) And

because of undersigned counsel’s belief that filings may have contained inaccuracies or

misstatements, counsel moved to withdraw its motion for summary judgment in the King case.

(King, D.E. 218.)

         Mr. Stanton’s investigation was completed with the issuance of the Report and Findings of

the Tennessee Lethal Injection Protocol Investigation on December 13, 2022. (“Report,” Exhibit

1.) Counsel for Defendants have conducted a good faith review of Defendants’ filings in King and

Middlebrooks to identify the existence of any known misstatements and inaccuracies contained

therein in light of the report’s findings. Counsel for Defendants are prepared to make further

corrections should this become necessary.1




1
 Counsel for Defendants are also aware of the finding in the report that “On April 22, 2022, the
Tennessee Attorney General’s Office received 31 pages of testing results dating back to 2018,


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       Counsel for Defendants present the following information to correct known inaccuracies

and/or misstatements in the King filings:

 Docket Entry     PageID# Inaccuracy/Misstatement Correction

 27 – Defs’     1775          “Defendants        will     be   The compounded midazolam yielded
 Response                     prepared and able to carry       a below range potency and was not
 Opp. Pl.                     out [Mr. David] Miller’s         tested for endotoxins. (Exhibit 1 at
 Miller’s Mot.                death sentence by lethal         26-27.) The midazolam was not used
 Temporary                    injection according to the       as Mr. Miller ultimately elected to be
 Restraining                  Lethal               Injection   executed by electrocution. (Id.)
 Order                        Procedures . . . .”
 33 – Defs’ 1913              “In     light     of     these   The compounded midazolam yielded
 Response                     attestations,         Miller’s   a below range potency and was not
 Opp.       Pl.               protest that there is ‘no        tested for endotoxins. (Exhibit 1 at
 Miller’s Mot.                proof’ that the Defendants       26-27.) The midazolam was not used
 Disclosure of                can carry out a lethal           as Mr. Miller ultimately elected to be
 Information                  injection as required under      executed by electrocution. (Id.)
                              the protocol is baseless.”

 33 – Defs’ 1913              “Miller’s claim that both        The executions of Mr. Billy Irick and
 Response                     “recent executions [of Mr.       Mr. Edmund Zagorski deviated from
 Opp.       Pl.               Billy Irick and Mr.              the Protocol because the midazolam
 Miller’s Mot.                Edmund            Zagorski]      used in the execution of Mr. Irick was
 Disclosure of                deviated      from       the     not tested for endotoxins and potency
 Information                  execution protocols,” is         and the compounded lethal injection
                              merely         speculative.”     chemicals prepared for Mr. Zagorski’s
                              (citation omitted)               execution were not tested for
                                                               endotoxins and failed potency testing.
                                                               (Exhibit 1 at 1-2.)
 136 – Joint 5210             “Discovery not relevant          To the extent that this statement could
 Discovery                    and      proportional     to     be read as asserting that the Protocol’s
 Dispute                      Plaintiff’s facial challenge     implementation has not failed, in the
 Statement                    includes discovery to            application of the July 5, 2018
                              answer          hypothetical     Protocol, the compounded lethal
                              questions about how the          injection chemicals have not been
                              protocol’s implementation        tested for endotoxins and the
                              could fail when it has not       midazolam used in Mr. Billy Irick’s
                              so far.”                         execution was not tested for
                                                               potency.(Exhibit 1 at 1-2, 12-13, 17-
                                                               33.)



although only 17 of those had been produced previously in litigation.” (Exhibit 1 at 20.)
Defendants are in the process of repeating all collection efforts with the assistance of a vendor.


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Docket Entry   PageID# Inaccuracy/Misstatement Correction

183 – Mem. 5676         “The Pharmacist also           In the application of the July 5, 2018
Supp. Defs’             arranges third-party testing   Protocol, the compounded lethal
Mot.                    of the compounded drugs        injection chemicals have not been
Summary J.              to ensure their potency and    tested for endotoxins and the
                        sterility.”                    midazolam used in Mr. Billy Irick’s
                                                       execution was not tested for potency.
                                                       (Exhibit 1 at 1-2, 12-13, 17-33.)




184 – Defs’ 5730        “The         Compounding       In the application of the July 5, 2018
Statement   ¶ 211       Pharmacist arranges for an     Protocol, the compounded lethal
Undisputed              independent     third-party    injection chemicals have not been
Material                laboratory to test the         tested for endotoxins and the
Facts                   compounded LIC for             midazolam used in Mr. Billy Irick’s
                        potency, sterility, and        execution was not tested for potency.
                        endotoxins.”                   (Exhibit 1 at 1-2, 12-13, 17-33.)

184 – Defs’ 5730        “The Pharmacy ships the        Text messages between the Drug
Statement   ¶ 212       compounded        LIC     to   Procurer and the Pharmacy Owner
Undisputed              TDOC within 24 to 48           indicate that, at TDOC’s urging, the
Material                hours of receiving the         Pharmacy Owner shipped the
Facts                   results of the testing from    midazolam to TDOC before receiving
                        the independent third          the sterility test results for the
                        party.”                        midazolam used in the execution of
                                                       Mr. Billy Irick. (Exhibit 1 at 24.)

                                                       Text messages between the Drug
                                                       Procurer and the Pharmacy Owner
                                                       indicate that, at TDOC’s urging, the
                                                       Pharmacy Owner shipped the
                                                       midazolam to TDOC before receiving
                                                       the sterility test results for the
                                                       midazolam intended for use in the
                                                       execution of Mr. Edmund Zagorski.
                                                       (Exhibit 1 at 25.)

                                                       Text messages between the Drug
                                                       Procurer and the Pharmacy Owner
                                                       also indicate that the Pharmacy owner
                                                       shipped the midazolam to TDOC
                                                       before receiving the sterility test
                                                       results for the midazolam used in the


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                                                         execution of Mr. Donnie Johnson.
                                                         (Exhibit 1 at 27.)

                                                         It appears that the Pharmacy Owner
                                                         may have shipped the potassium
                                                         chloride intended for use in the
                                                         execution of Mr. Stephen West to
                                                         TDOC before receiving the potency
                                                         test results. (Exhibit 1 at 30.)

                                                        It appears that the Pharmacy Owner
                                                        may have shipped the midazolam and
                                                        potassium chloride intended for use in
                                                        the execution of Mr. Lee Hall to
                                                        TDOC before receiving the potency
                                                        and sterility test results for either
                                                        chemical. (Exhibit 1 at 31-32.)
 208 – Defs’ 12694           “[A]ll the essential facts In the application of the July 5, 2018
 Resp.                       are in the record . . . .” Protocol, the compounded lethal
 Opposition                                             injection chemicals have not been
 Pl’s     Mot.                                          tested for endotoxins and the
 Deny or Defer                                          midazolam used in Mr. Billy Irick’s
 Consideration                                          execution was not tested for potency.
 Defs’    Mot.                                          (Exhibit 1 at 1-2, 12-13, 17-33.)
 Summary J.

       Counsel for Defendants present the following information to correct known inaccuracies

and/or misstatements in the Middlebrooks filings:

 Docket     PageID#      Inaccuracy/Misstatement         Correction
 Entry
 53 – Defs’ 507 ¶ 102    “102. Defendants followed the   Defendants failed to comply with the
 Answer                  July 5, 2018 midazolam-based    Protocol’s requirements regarding
 to First                lethal injection protocol in    testing for endotoxins. (Exhibit 1 at
 Amended                 carrying out Donnie Johnson’s   2, 12-13, 22, 27-28.)
 Compl.                  execution.

                         ANSWER: Admit”




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                                               Respectfully submitted,



                                               JONATHAN SKRMETTI
                                               Attorney General and Reporter

                                               s/ Scott C. Sutherland
                                               SCOTT C. SUTHERLAND (29013)
                                               Deputy Attorney General


                                               DEAN ATYIA (039683)
                                               MIRANDA JONES (36070)
                                               CODY N. BRANDON (037504)
                                               JOHN R. GLOVER (037772)
                                               Assistant Attorneys General
                                               Law Enforcement and
                                               Special Prosecutions Div.
                                               P.O. Box 20207
                                               Nashville, Tennessee 37202-0207
                                               Off. (615) 532-7688
                                               Fax (615) 532-4892
                                               Scott.Sutherland@ag.tn.gov
                                               Dean.Atyia@ag.tn.gov
                                               Miranda.Jones@ag.tn.gov
                                               Cody.Brandon@ag.tn.gov
                                               John.Glover@ag.tn.gov
                                               Counsel for Defendants




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                               CERTIFICATE OF SERVICE
       I certify that on May 1, 2023, a copy of the foregoing was filed and served via the Court’s

CM/ECF system on the following counsel for Middlebrooks:

Amy Harwell                                         Nashville, TN 37203
Houston Goddard                                     615-695-6906
Katherine Dix                                       Amy_Harwell@fd.org
Katheryn Thomas                                     houston_goddard@fd.org
Kelley Henry                                        Katherine_Dix@fd.org
Marshall Jensen                                     kit_thomas@fd.org
Richard Tennent                                     Kelley_Henry@fd.org
Federal Public Defender’s Office (MDTN)             Marshall_Jensen@fd.org
810 Broadway, Suite 200,                            Richard_Tennent@fd.org

And on the following counsel for King:

Alex Kursman                                        Bass, Berry & Sims 150 Third Ave. South
Lynne Leonard                                       Nashville, TN 37201
Anastassia Baldridge                                (615) 742-6200
Hayden Nelson-Major                                 desquivel@bassberry.com
Assistant Federal Defenders                         smiller@bassberry.com
Federal Community Defender for the E.D.             jeremy.gunn@bassberry.com
Penn.                                               michael.tackeff@bassberry.com
Suite 545 West, The Curtis
601 Walnut St.                                      Alice Haston
Philadelphia, PA 19106                              Amy Rao Mohan
(215) 928-0520                                      Christopher C. Sabis
alex_kursman@fd.org                                 Sherrard Roe Voight & Harbison, PLC
lynne_leonard@fd.org                                150 Third Ave. South
ana_baldridge@fd.org                                Suite 1100
hayden_nelson-major@fd.org                          Nashville, TN 37201
                                                    (615) 742-4539
David Esquivel                                      ahaston@srvhlaw.com
Sarah Miller
                                                    amohan@srvhlaw.com
Jeremy Gunn
                                                    csabis@srvhlaw.com
Michael Tackeff




                                                            s/ Scott C. Sutherland
                                                            SCOTT C. SUTHERLAND




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